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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

  STATE OF MISSOURI, et al.,

                Intervenor Plaintiffs.

  v.
                                                                2:22-CV-223-Z
  U.S. FOOD AND DRUG
  ADMINISTRATION, et al.,

                Defendants,

  and

  DANCO LABORATORIES, LLC,

                Intervenor Defendant.


                                                ORDER

            Before the Court is Intervenor Plaintiffs’ Motion for Extension of Time to Respond to

 Motions to Dismiss and for Leave to File Consolidated Response (“Motion”) (ECF No. 226), filed

 February 4, 2025. Intervenor Plaintiffs request a “10-day extension to respond to Defendant FDA’s

 motion to dismiss and a 2-day extension to respond to Intervenor-Defendant Danco’s motion to

 dismiss.” ECF No. 226 at 2. The new deadline would be February 20, 2025. /d. Intervenor

 Plaintiffs request the extension because of “medical leave for one of the undersigned attorneys, the

 national    observance   of President’s   Day...    and the press   of business.” /d. This   Court   has

 “generously granted extensions to all parties” in this case. ECF No.          168. Finally, Intervenor

 Plaintiffs request leave to file one response to the two motions to dismiss because they contain

 similar arguments, and one response would aid judicial economy. ECF No. 226 at 2. Defendants

 and Intervenor Defendant do not oppose the Motion. /d. Accordingly, the Motion is GRANTED.
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 Intervenor Plaintiffs are ORDERED to respond to the pending motions to dismiss with one brief

 filed on or before February 20, 2025.

        SO ORDERED.

        February (0, 2025                             My

                                                   MATTHEW J. KACSMARYK
                                                   UNITED STATES DISTRICT JUDGE
